,'   •.                 Case 1:20-cr-00272-ELH Document 1 Filed 08/25/20 Page 1 of 6




          CJF8.22.20
          RPGIDL USAO 2020R00292

                                        IN THE UNITED STATES DISTRICT COURT
                                            FOR THE DISTRICT OF MARYLAND

            UNITED STATES              OF Al\1ERICA                 *
                                                                    *
                        v.                                          *          CRIMINAL       NO.   ELH-20-272
                                                                                                            _
                                                                    *
           ,JIMMIE MARTIN                                           *         (Possession of a Firearm and
           (A/KIA "DOODLES"),                                       *         Ammunition    hya Prohihited Person,
                                                                    *         18 U.S.c. ~ 922(g)(I); Possession with
                                 Defendant                          *         the Intent to Distl"ibute a Controlled
                                                                    *         Substance, 21 U.S.c. ~ 841(a);
                                                                    *         Possession of a Firearm in
                                                                    *         Furtherance   of a Drug Trafficking
                                                                    *         Crime, 18 U.S.c. ~ 924(c); Forfeiture,
                                                                    *         18 U.S.c. ~ 924(d), 28 U.S.c. ~ 2461 (c),
                                                                    *         21 U.S.c. ~ 853)
                                                               *******

                                                            IN[)ICTMENT

                                                            COUNT ONE

                       The Grand Jury for the District of Maryland charges that:

                       On or ahout March 6, 2020, in the District of Maryland, the defendant,

                                                          ,JIMMIE   MARTIN,

          knowing that he had previously been convicted of a crime punishable by imprisonment                 for a term

          exceeding one year, knowingly possessed a firearm and ammunition.                 to wit, a Glock Model 17.9

          millimeter         caliber handgun.   bearing   Serial Number     NLD 171; a Glock magazine        having the

          capacity       to hold 30 cartridges     of ammunition;       and 29 cartridges   of ammunition,    including

          I cartridge of Winchester ammunition.            I cartridge of Remington ammunition,      I cartridge of Prvi

          Partizan ammunition.         9 cartridges of Fiocchi ammunition.      and 17 cartridges of Federal Cartridge

          ammunition.          The firearm and ammunition     were in and affecting interstate and foreign commerce.

          18 U .S.c. ~ 922(g)( I)
..   ~            Case 1:20-cr-00272-ELH Document 1 Filed 08/25/20 Page 2 of 6




                                                 COUNT TWO

                       (Possession with the Intent to Distribute a Controlled Substance)

                The Grand Jury for the District of Maryland further charges that:

                On or around March 6, 2020, in the District of Maryland, the defendant,

                                              JIMMIE MARTIN,

         did knowingly and intentionally possess with the intent to distribute a substance containing a

         detectable amount of cocaine, a Schedule II Controlled Substance.



         21 U.S.C. ~ 841(a)(I)
         18 U.S.C. ~ 2




                                                        2
,   .   ,            Case 1:20-cr-00272-ELH Document 1 Filed 08/25/20 Page 3 of 6




                                                     COUNT THREE

                        (Possession of a Firearm in Furtherance     of a Drug Trafficking Crime)

                   The Grand Jury for the District of Maryland further charges that:

                   The allegations set forth in Counts One and Two are hereby incorporated by reference.

                   On or around March 6, 2020, in the District of Maryland,

                                                   JIMMIE MARTIN

            did knowingly possess a firearm in furtherance of a drug trafficking crime for which he may be

            prosecuted in a court of the United States, to wit, possession with the intent to distribute cocaine,

            as charged in Count Two of this Indictment, which is incorporated by reference herein.



            18 U.S.c. ~ 924(c)(1)(A)
            18 U.S.c. ~ 2




                                                             3
..   ,                Case 1:20-cr-00272-ELH Document 1 Filed 08/25/20 Page 4 of 6




                                                           FORFEITURE

                 The Grand Jury for the District of Maryland further charges that:

                 I.         All allegations set forth in Counts One, Two, and Three are hereby incorporated                   by

         reference.

                 2.         Pursuant to Fed. R. Crim. 1'. 32.2, notice is hereby given to the defendant that the

         United States will seek forfeiture as part of any sentence in accordance with 28 U.S.c. ~ 2461(c)

         and the other statutes cited herein, in the event of the defendant's               convictions.


                                                      Narcotics       Forfeiture

                 3.         Pursuant to 21 U.S.c. ~ 853(a), upon conviction                of an offense in violation of the

         Controlled    Substances    Act, as alleged in Count Two, the defendant                 convicted   of such offense,

         shall forfeit to the United States of America:

                       a.   any property   constituting,     or derived     from, any proceeds         obtained,   directly   or

                            indirectly, as a result of such offense; and

                       b. any property used, or intended to be used, in any manner or part, to commit, or

                            facilitate the commission      of, such offense.


                                           Firearms     and Ammunition             Forfeiture

                 4.         Pursuant to 18 U.S.c.       ~ 924(d), upon conviction           of an offense alleged in Count

         One, the defendant      convicted of such offense shall forfeit to the United States, pursuant to 18

         U.S.c. ~ 924(d) and 28 U.S.c. ~ 2461 (c), any firearms and ammunition                    involved in those offenses.


                                                         Substitute     Assets

                5.          Pursuant to 21 U.S.c.       ~ 853(p), if any of the property described            above as being

         subject to forfeiture, as a result of any act or omission by the defendant(s):




                                                                  4
..   ,            Case 1:20-cr-00272-ELH Document 1 Filed 08/25/20 Page 5 of 6




                         a.   cannot be located upon the exercise of due diligence;

                         b. has been transferred or sold to, or deposited with, a third person;

                         c.   has been placed beyond the jurisdiction           of the Court;

                         d. has been substantially      diminished        in value; or

                        e.    has been coming led with other property which cannot be subdivided                        without

                              difficulty,

         it is the intent of the United States to seek forfeiture of any other property of the defendant(s)                   up

         to the value of the property charged with forfeiture in the paragraphs above.


                                               PropertY Subject         to Forfeiture

                6.      The property to be forfeited includes, but is not limited to, the following:

                        (a) Glock      Model     17, 9 millimeter         caliber     handgun,    bearing     Serial    Number

                              NLDI71;       a Glock magazine        having the capacity          to hold 30 cartridges        of

                              ammunition;      and approximately           29 cartridges      of ammunition,           including

                              approximately      I cartridge   of       Winchester       ammunition,        approximately          I

                              cartridge of Remington ammunition,            approximately        I cartridge ofPrvi Partizan

                              ammunition,      approximately        9    cartridges      of   Fiocchi    ammunition,         and

                              approximately     17 cartridges of Federal Cartridge ammunition.

         18 U.S.c. ~ 924(d)
         28 U.S.c. ~ 2461 (c)
         2 J U.S.c. ~ 853




                                                               5
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,   Case 1:20-cr-00272-ELH Document 1 Filed 08/25/20 Page 6 of 6
